Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 1 of 36




         25TH JUDICIAL DISTRICT COURT FOR THE PARISH OF PLAQUEMINES

                                     STATE OF LOUISIANA


    DOCKET NO.     (o ~43D                                                 DIVISION   "_A_"
          ANAL. ALMEIDA AND DALMO G. ALMEIDA, INDIVIDUALLY AND
              ON BEHALF OF TITO LIVIO ALMEIDA, DECEASED, AND
       SARAH ALMEIDA RODRIGUEZ, AS PERSONAL REPRESENTATIVE OF THE                                FllED
                  ESTATE OF TITO LIVIO ALMEIDA, DECEASED,
                                                                                           NOV 3 0 2020
                                             VERSUS

       PANTHER HELICOPTERS, INC., BELL TEXTRON, INC., ARROW AVIATION
                                                                                     u~~
                  COMPANY, LLC, AND ROLLS-ROYCE CORP.                                 -Pfr~
    FILED: _ _ _ _ _ _ __
                                                                      DEPUTY CLERK



                             PETITION FOR WRONGFUL DEATH
                                  AND SURVIVAL DAMAGES
      Pursuant to the Louisiana Products Liability Act, La. R.S. 9:2800.51, and La. Civ. Code
                                     arts. 2315.1 & 2315.2
                                     Jury Trial Demanded

           COME NOW Plaintiffs, DALMO GERALDO DE ALMEIDA and ANA LUCIA

    ALMEIDA, individually and as beneficiaries of the Estate of Tito Livio Almeida, and SARAH

    ALMEIDA ROJ?RIGUEZ, as personal representative of the Estate of ,Tito Livio Almeida,

    deceased, who sue Defendants Panther Helicopters, Inc., Be]] Textron, Inc., Arrow Aviation

    Company, LLC, and Rolls-Royce Corp., and allege as follows:




                                                1/35




                                    Exhibit A

                                  Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 1
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 2 of 36




                                                 PARTIES

                                                    1.

              Plaintiffs DALMO GERALDO ALMEIDA and ANA LUCIA ALMEIDA are the par~nts

    of decedent Tito Livio Almeida.

                                                    2.

              Plaintiffs DALMO GERALDO ALMEIDA and ANA LUCIA ALMEIDA are residents of

    Brazil.

                                                    3.

              Plaintiff SARAH ALMEIDA RODRIGUEZ is personal representative of the Estate of Tito

    Livio Almeida.

                                                    4.

              Plaintiff SARAH ALMEIDA RODRIGUEZ is a resident ofFlorida.

                                                    5.

              Decedent Tito Livio Almeida left no surviving spouse or children.

                                                    6.

              Plaintiffs DALMO GERALDO ALMEIDA and ANA LUCIA ALMEIDA are entitled to

    recover for the wrongful death of decedent Antonio Pereira Soares pursuant to La. Civ. Code art.

    2315.2.




                                                    2/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 2
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 3 of 36




                                                      7.

              Plaintiffs DALMO GERALDO ALMEIDA and ANA LUCIA ALMEIDA are entitled to

    recover damages for decedent Tito Livio Almeida's pre-death injuries pursuant to La. Civ. Code

    art. 2315.1.

                                                      8.

              Plaintiffs bring this action pursuant to the Wrongful Death, Survival, and Products Liability

    statutes of the State of Louisiana, individually and on behalf of all beneficiaries of decedent Tito

    Livio Almeida.

                                                      9.

              Defendant Panther Helicopters, Inc. ("Panther") is and was a Louisiana corporation with

     its principal place of business located at 2017 Engineers Road, Belle Chasse, Louisiana 7003 7,

    engaged in the business of providing on-demand air taxi services for offshore oil and gas

    operations, including the subject flight that Tito Livio Almeida was piloting at the time of his

    death.

                                                     10.

              At all times material Defendant Panther was the owner and operator of the Bell 407-series

     helicopter, FAA Registration no. N79LP, that Tito Livio Almeida was piloting at the time of his

     death.

                                                      11.

              At all times alleged herein, Panther includes any and all parents, subsidiaries, affiliates,

     divisions, franchises, partners, joint ventures, and organizational units of any kind, their

                                                      3/35




                                       Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 3
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 4 of 36




    predecessors, successors and assigns and their officers, directors, employees, agents,

    representatives and any and all other persons acting on its behalf.

                                                   12.

            Panther may be served with process by serving its registered agent, Lance Panepinto, 1621

    Lake Placid Drive, Harvey, Louisiana 70058.

                                                   13.

            Defendant Arrow Aviation Company, LLC, ("Arrow") is and was a Louisiana corporation

    with its principal place of business located at 1318 Smede Highway Broussard, Louisiana 70518,

    engaged in the business of providing maintenance to aircraft, including the subject helicopter Tito

    Livio Almeida was piloting at the time of his death.

                                                   14.

            At all times material Defendant Arrow provided maintenance services for the Bell 407-

    series helicopter, FAA Registration no. N79LP, that Tito Livio Almeida was piloting at the time

    of his death.

                                                   15.

            At all times alleged herein, Arrow includes any and all parents, subsidiaries, affiliates,

    divisions, franchises, partners, joint ventures, and organizational units of any kind, their

    predecessors, successors and assigns and their officers, directors, employees, agents,

    representatives and any and all other persons acting on its behalf.




                                                    4/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 4
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 5 of 36




                                                   16.

           Arrow may be served with process by serving its registered agent, Cyril J. Guidry, 1306-

    D Duchamp Road, Broussard, Louisiana 70518.

                                                   17.

           Defendant Bell Textron; Inc. ("Bell") is and was a Delaware corporation with its principal

    place of business in Fort Worth, Texas, engaged in the business of designing, certifying,

    assembling, manufacturing, integrating, modifying, overhauling, servicing, maintaining,

    in~pecting, testing, repairing, marketing, selling, and/or distributed helicopters and their

    component parts, including the Bell 407-series no. N79LP that Tito Livio Almeida was piloting at

    the time of his death.

                                                   18.

           At all times material Defendant Bell is and was authorized to do and doing business in

    Louisiana, with its principal business establishment in Louisiana located at 107 LEDA, E.

    Broussard Street, Broussard, Louisiana 70518.

                                                   19.

           At all times alleged herein, Bell includes any and all parents, subsidiaries, affiliates,

    divisions, franchises, partners, joint ventures, and organizational units of any kind, their

    predecessors, successors and assigns and their officers, directors, employees, agents,

    representatives and any and all other persons acting on its behalf.




                                                    5/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 5
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 6 of 36




                                                    20.

           Bell may be served with process by serving its registered agent, CT Corporation System,

    3867 Plaza Tower Drive, Baton Rouge, Louisiana 70816.

                                                     21.

           Defendant Rolls-Royce Corp. ("Rolls Royce") is and was a Delaware corporation with its

    principal place of business in Indianapolis, Indiana, engaged in the business of designing,

    manufacturing, integrating, assembling, modifying, maintaining, inspecting, testing, servicing,

    marketing, selling, and/or distributing helicopter turbines, engines, and their component parts,

    including the engine and component parts installed on the Bell 407-series no. N79LP that Tito

    Livio Almeida was piloting at the time of his death.

                                                    22.

           At all times alleged herein, Rolls-Royce includes any and all parents, subsidiaries,

    affiliates, divisions, franchises, partners, joint ventures, and organizational units of any kind, their

    predecessors, successors and assigns and their officers, directors, employees, agents,

    representatives and any and all other persons acting on its behalf.

                                                    23.

            Rolls-Royce may be served with process through its registered agent Corporation Service
                                                                                J
    Company, 251 Little Falls Drive, Wilmington, Delaware 19808, pursuant to Louisiana's longarm

    statute, LA. REV. STAT.§ 13:3204.




                                                     6/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 6
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 7 of 36




                                     JURISDICTION AND VENUE

                                                   24.

            Venue is proper in Plaquemines Parish, Louisiana because all or a substantial part of the

    events or omissions that give rise to the claim occurred there and Defendants Panther, Bell, and

    Rolls-Royce transact business there.

                                                   25.

            This Court ~as jurisdiction over Defendant Panther as it is a Louisiana corporation with its

    principal place of business in Plaquemines Parish, Louisiana.

                                                   26.

            This Court has jurisdiction over Defendant Arrow as it is a Louisiana corporation with its

    principal place of business in Lafayette Parish, Louisiana.

                                                   27.

            This Court has jurisdiction over Defendant Bell as it regularly transacts and solicits

     business in and derives revenue from Louisiana, manufactured the subject helicopter that caused

     injury and which Bell reasonably anticipated would be found in Louisiana, is registered to do·

     business in Louisiana and has appointed an agent for service of process in the state, and caused

     injury within Louisiana through acts and/or omissions in the state.

                                                   28.

            This Court has jurisdiction over Defendant Rolls-Royce as it regularly transacts and solicits

     business in and derives revenue from Louisiana, manufactured the subject engine and component




                                                    7/35




                                      Case Number: 00066435 Transaction Date : 11/30/2020 Seq : 5 Page Sequence : 7
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 8 of 36




    parts that caused injury and which Rolls-Royce reasonably anticipated would be found in

    Louisiana, and caused injury within Louisiana through acts and/or omissions in the state.

                          GENERAL FACTS APPLICABLE TO ALL COUNTS

                                                  29.

           On December 7, 2019, decedent Tito Livio Almeida was piloting a Bell 407-series

    helicopter bearing FAA registration N79LP (the "subject helicopter") as a Part 135 on-demand air

    taxi service, see 14 C.F.R. § 135, which was a commercial operation and use of the helicopter.

                                                  30.

           Defendant Bell designed, manufactured, and sold the subject helicopter.

                                                  31.

           Decedent Tito Livio Almeida and one passenger were the only individuals onboard the

    subject helicopter.

                                                  32.

           At the time of the subject flight decedent was licensed as a commercial rated pilot.

                                                  33.

           The subject helicopter was registered to, owned, and operated by Panther Helicopters, Inc.

    for use as a Part 135 on-demand air taxi service, see 14 C.F.R. § 135.

                                                  34.

           The subject helicopter was equipped with a Rolls Royce M250-C47 engine (the "subject

    engine"), designed, manufactured, and sold by Defendant Rolls-Royce.




                                                   8/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 8
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 9 of 36




                                                   35.

           Defendan~ Arrow provided maintenance services for the subject helicopter.

                                                   36.

           The subject helicopter departed from oil platform WD 109 and was flying over the Gulf of

    Mexico en route to platform WD73.

                                                   37.

           While in flight, the helicopter suffered a catastrophic failure, which, upon information and

    belief, resulted in the rotor blades coming into contact and severing from the aircraft the tail boom.

    The catastrophic failure was caused, in part, by a combination of engine failure, design defect, and

    improper maintenance on the part of the Defendants.

                                                   38.

           The subject helicopter crashed into the Gulf of Mexico, killing two occupants: the pilot,

    decedent Tito Livia Almeida, and the sole passenger aboard.

                                                   39.

           The defective helicopter, engine, and/or component part was a direct, proximate, and

    producing cause of the subject crash and the resulting damages incurred by decedent Tito Livia

    Almeida and Plaintiffs.

                                                   40.

           Additionally, the above-described helicopter crash and resulting damages to decedent Tito

    Livia Almeida and Plaintiffs were the direct and proximate result of Defendants Panther, Arrow,

    Bell, and Rolls-Royce's negligence and tortious conduct.

                                                    9/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 9
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 10 of 36




                                          CAUSES OF ACTION

                                             Bell Textron, Inc.

                               Count I - Louisiana Products Liability Act

                                                    41.

            Plaintiffs incorporate by reference and re-allege here paragraphs 1-7, 17-20, and 29-41.

                                                  42.

            Bell, by and through its agents, employees, and representatives, designed, certified,

     assembled, manufactured, integrated, modified, overhauled, serviced, maintained, inspected,

     tested, repaired, marketed, sold, and/or distributed the Bell 407-series no. N79LP and its

     component parts involved in this accident.

                                                   43.

            Bell was and is engaged in the sale of helicopters and their component parts, placing them

     into the stream of commerce with full knowledge and intent that they would be used and flown by

     purchasers, users, and operators without the opportunity for inspection or testing.

                                                   44.

            At all times material decedent Tito Livio Almeida was using the subject helicopter as a

     pilot for Part 135 on-demand air transportation services, which was a reasonably anticipated use

     of the helicopter.

                                                   45.

             The subject crash and resulting damages therefrom arose from Tito Livia Almeida's

     reasonably anticipated use of the subject helicopter for on-demand air transportation services.

                                                    10/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq : 5 Page Sequence : 10
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 11 of 36




                                                    46.

             At the time the subject helicopter left Bell's control it possessed a characteristic that made

     it unreasonably dangerous, in that the helicopter was integrated with a defective engine or

     component parts and/or was designed defectively, which led to the rotor blades severing the tail

     boom of the subject helicopter.

                                                    47.

             In the alternative, the subject helicopter's defective characteristics resulted from a

     reasonably anticipated alteration or modification of the helicopter.

                                                    48.

             At the time the subject helicopter left Bell's control, it was unreasonably dangerous in,

     design because an alternative design existed that would have prevented the subject crash and

     resulting damage, and the likelihood that the subject helicopter as-designed would cause

     decedent's and Plaintiffs' damages and the gravity and severity of that damage outweighed any

     burden on Bell of adopting that alternative design and any adverse effect it would have on the

     helicopter's utility.

                                                    49.

             At the time the subject helicopter left Bell's control, it was unreasonably dangerous in

     construction and/or composition because it deviated in a material way from Bell's performance

     standards for the subject helicopter and otherwise identical Bell 407-series helicopters.




                                                     11/35




                                       Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 11
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 12 of 36




                                                   50.

            At all times material, Bell knew or in the exercise of reasonable care should have known

     that if any of its helicopters or their component parts, including their engine and/or rotor design,

     failed, it would create an unreasonable risk of harm to persons aboard the helicopter.

                                                    51.

            At all times material, Bell as the subject helicopter's manufacturer had a duty to use

     reasonable care to provide an adequate warning of any characteristic of the subject helicopter that

     may cause damage.

                                                   52.

            At the time it left Bell's control the subject helicopter was unreasonably dangerous,

     because Bell failed to use reasonable care to provide an adequate warning of the subject

     helicopter's defective engine, component parts, and/or design to users and handlers of the product,

     including decedent Tito Livio Almeida.

                                                    53.

            After the subject helicopter left Bell's control Bell became aware, or if acting as a

     reasonably prudent manufacturer should have become aware, of the subject helicopter's defective

     engine, component part, and/or design, but subsequently failed to use reasonable care to provide

     an adequate warning of that defect and its dangers to users and handlers of the product, including

     decedent Tito Livio Almeida.




                                                    12/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 12
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 13 of 36




                                                   54.

            At all times material the subject helicopter was dangerous to an extent beyond that which

     users and handlers would contemplate based on ordinary knowledge of its characteristics, such

     that no ordinary user or handler of the subject helicopter, including decedent Tito Livio Almeida,

     knew or should reasonably have been expected to know of the subject helicopter's defects or of

     the risk of damage therefrom.

                                                   55.

            When it sold the subject helicopter Bell expressly warranted that the helicopter was free

     from defects that would render it either useless or so inconvenient to use that no reasonable buyer

     would buy it. See La. Civ. Code art. 2520.

                                                   56.

            The subject helicopter was unreasonably dangerous because it did not conform to Bell's

     express warranty, in that the defects in its engine and/or component parts caused the helicopter to

     lose power and thus be completely useless for its intended purpose of air transportation.



                                                   57.

            Bell's express warranty that the subject helicopter was free from defects in its turbine,

     engine, and/or component parts induced decedent Tito Livio Almeida and Defendant Panther to

     use the product.




                                                   13/35




                                     Case Number: 00066435 Transaction Date : 11/30/2020 Seq: 5 Page Sequence : 13
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 14 of 36




                                                    58.

            The subject crash and resulting damage to Plaintiffs and their decedent was proximately

     caused because Bell's express warranty about the subject helicopter was false, in that decedent

     Tito Livia Almeida would not have piloted the defective helicopter but for Bell's warranty that it

     was airworthy and not useless.

                                                    59.

            The subject helicopter's unreasonably dangerous characteristics were a direct, proximate,

     and producing cause of the helicopter crash that killed decedent Tito Livio Almeida and the

     resulting damages therefrom.

                                                    60.

            Bell is liable to Plaintiffs for all damages Plaintiffs sustained as a result of their decedent

     Tito Livio Almeida's death, including but not limited to compensation for loss of love affection,

     companionship, and support, for funeral expenses, and for any other damages to which Plaintiffs

     may be entitled under applicable law.

                                                    61.

            Bell is liable to Plaintiffs, decedent Tito Livia Almeida's surviving beneficiaries, for all

     damages Tito Livia Almeida sustained from Bell's tortious conduct before his death, including but

     not limited to compensation for their decedent's pre-impact fright, fear, and mental anguish, and

     for any other damages to which Plaintiffs may be entitled under applicable law.




                                                    14/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 14
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 15 of 36




                                             Rolls-Royce Corp.

                               Count I -Louisiana Products Liability Act

                                                    62.

            Plaintiffs incorporate by reference and re-allege here paragraphs 1-7, 21-23, and 29---41.

                                                    63.

            Rolls-Royce, by and through its agents, employees, and representatives, designed,

     certified, assembled, manufactured, integrated, modified, overhauled, serviced, maintained,

     inspected, tested, repaired, marketed, sold, and/or distributed the M250-C47 engine and its

     component parts involved in this accident.

                                                    64.

            Rolls-Royce was and is engaged in the sale of helicopter engines and their component parts,

     placing them into the stream of commerce with full knowledge and intent that they would be used

     and flown by purchasers, users, and operators without the opportunity for inspection or testing.

                                                    65.

            At all times material decedent Tito Livia Almeida was using the helicopter that integrated

     the subject engine as a pilot for a Part 135 on-demand air transportation service flight, which was

     a reasonably anticipated use of the engine.

                                                    66.

            The subject crash and resulting damages therefrom arose from Tito Livia Almeida's

     reasonably anticipated use of the subject engine for air transportation services.




                                                    15/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 15
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 16 of 36




                                                    67.

             At the time the subject engine left Rolls-Royce's control it possessed a characteristic that

     made it unreasonably dangerous, in that the engine and/or its component parts was designed

     defectively, which led to the rotor blades severing the tail boom of the subject helicopter.

                                                    68.

             In the alternative, the subject engine's defective characteristics resulted from a reasonably

     anticipated alteration or modification of the engine.

                                                    69.

             At the time the subject engine left Rolls-Royce's control, it was unreasonably dangerous

     in design because an alternative design existed that would have prevented the subject crash and

     resulting damage, and the likelihood that the subject engine as-designed would cause decedent's

    . and Plaintiffs' damages and the gravity and severity of that damage outweighed any burden on

     Rolls-Royce of adopting that alternative design and any adverse effect it would have on the

     engine's utility.

                                                    70.

             At the time the subject engine left Rolls-Royce's control, it was unreasonably dangerous

     in construction and/or composition because it deviated in a material way from Rolls-Royce's

     performance standards for the subject engine and otherwise identical M250-C47 engines.




                                                     16/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq : 5 Page Sequence : 16
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 17 of 36




                                                    71.

            At all times material, Rolls-Royce knew or in the exercise of reasonable care should have

     known that if any of its engines or their component parts failed it would create an unreasonable

     risk of harm to persons aboard the helicopter in which that engine is installed.

                                                   72.

            At all times material, Rolls-Royce as the subject engine's manufacturer had a duty to use

     reasonable care to provide an adequate warning of any characteristic of the subject engine that may

     cause damage.

                                                    73.

            At the time it left Rolls-Royce's control, the subject engine was unreasonably dangerous

     because Rolls-Royce failed to use reasonable care to provide an adequate warning of its a~d/or its

     component parts' defects to users and handlers of the product, including decedent Tito Livio

     Almeida.

                                                    74.

            After the subject engine left Rolls-Royce's control Rolls-Royce became aware, or if acting

     as a reasonably prudent manufacturer should have become aware, of the subject engine's and/or

     its component parts' defects, but subsequently failed to use reasonable care to provide an adequate

     warning of that defect and its dangers to users and handlers of the product, including decedent Tito

     Livio Almeida.




                                                    17/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 17
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 18 of 36




                                                   75.

            At all times material the subject engine was dangerous to an extent beyond that which

     ordinary users and handlers would contemplate based on ordinary knowledge of the engine's

     characteristics, such that no ordinary user or handler of the subject engine, including decedent,

     knew or should reasonably have been expected to know of the subject engine's defects or of the

     risk of damage therefrom.

                                                   76.

            When it sold the subject engine Rolls-Royce expressly warranted that the engine was free

     from defects that would render it either useless or so inconvenient to use that no reasonable buyer

     would buy it. See La. Civ. Code art. 2520.

                                                   77.

            The subject engine and/or component part(s) was unreasonably dangerous because it did

     not conform to Rolls-Royce's express warranty, in that the engine's defects caused the engine to

     lose power and thus be completely useless for its intended purpose of air transportation.

                                                   78.

            Rolls-Royce's express warranty that the subject engine and/or its component part(s) was

     free from defects induced decedent Tito Livio Almeida and Defendant Panther to use the product.

                                                   79.

            The subject crash and resulting damage to Plaintiffs and their decedent was proximately

     caused because Rolls-Royce's express warranty about the subject engine was false, in that




                                                    18/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 18
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 19 of 36




     decedent Tito Livio Almeida would not have piloted the subject helicopter but for Rolls-Royce's

     warranty that the subject engine was properly designed and manufactured and not useless.

                                                   80.

            The subject engine and/or its component part(s)'s unreasonably dangerous characteristics

     were a direct, proximate, and producing cause of the helicopter crash that killed decedent Tito

     Livio Almeida and the resulting damages therefrom.

                                                   81.

            Rolls-Royce is liable to Plaintiffs for all damages Plaintiffs sustained as a result of their

     decedent Tito Livio Almeida's death, including but not limited to compensation for loss of love

     affection, companionship, and support, for funeral expenses, and for any other damages to which

     Plaintiffs may be entitled under applicable law.

                                                   82.

            Rolls-Royce is liable to Plaintiffs, decedent Tito Livio Almeida's surviving beneficiaries,

     for all damages Tito Livio Almeida sustained from Rolls-Royce's tortious conduct before his

     ultimate death, including but not limited to compensation for their decedent's pre-impact fright,

     fear, and mental anguish, and for any other damages to which Plaintiffs may be entitled under

     applicable law.

                                         Panther Helicopters, Inc.

                                           Count I-Negligence

                                                   83.
            Plaintiffs incorporate by reference and re-allege here paragraphs 1-11 and 29--41.


                                                   19/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 19
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 20 of 36




                                                   84.

             At all times material Defendant Panther, through its employees, agents, representatives,

     and/or servants, owned, operated, maintained, inspected, tested, had garde of, and/or was the entity

     in control of the subject helicopter and its component parts.

                                                   85.

            At all times material Defendant Panther provided the professional services of chartering,

     leasing, operating, and/or supplying helicopters, and pilots therefor, including the subject

     helicopter and its component parts.

                                                   86.

            Defendant Panther provided the subject helicopter to decedent Tito Livia Almeida to pilot

     during the subject flight.

                                                    87.

            At the time of the subject flight the subject helicopter was a dangerous instrumentality that

     presented a significant risk of harm to users, including decedent Tito Livia Almeida.

                                                   88.

            As owner and operator of the subject helicopter, Panther was responsible for ensuring the

     subject helicopter and its component parts were properly maintained, inspected, tested, repaired,

     and/or operated.




                                                    20/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 20
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 21 of 36




                                                    89.

            At all times material Defendant Panther as the owner, operator, and entity in control of the

     subject helicopter owed a duty to all users, including decedent Tito Livia Almeida, to exercise

     reasonable care to guard against accidents and injuries resulting from its use.

                                                    90.

            At all times material Defendant Panther as the owner, operator, and entity in control of the

     subject helicopter owed a duty to owed a duty to all users, including decedent Tito Livia Almeida,

     to exercise reasonable care to maintain the subject helicopter in a safe and not unreasonably

     dangerous condition.

                                                    91.

            At all times material, Defendant Panther as the owner, operator, and entity in control of the

     subject helicopter, owed a duty to all users, including decedent Tito Livia Almeida, to reasonably

     inspect, test, and maintain the subject helicopter so as to discover any characteristics that made it

     unreasonably dangerous.

                                                    92.

            At all times material, Defendant Panther as the owner, operator, and entity in control of the

     subject helicopter, owed a duty to all users, including decedent Tito Livio Almeida, to either

     correct or adequately warn of any characteristics that Panther knew or in the exercise of reasonable

     care should have known made the subject helicopter unreasonably dangerous.

                                                    93.

            Defendant Panther breached its duty of care by, among other things:

                                                    21/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 21
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 22 of 36




            a.      Failing to properly maintain the subject helicopter in a safe condition;

            b.      Failing to properly maintain, inspect, and/or test the subject helicopter and
                    its component parts to discover its unreasonably dangerous condition;

            c.   , Failing to properly maintain, inspect, test, and/or repair the subject
                   helicopter and its component parts correct its unreasonably dangerous
                   condition, including but not limited to failing to properly replace and/or
                   maintain the turbine, engine, and/or engine component parts; and/or

            d.      Failing to warn persons operating and/or aboard the subject helicopter,
                    including decedent Tito Livia Almeida, of the helicopter's unreasonably
                    dangerous condition.

                                                   94.

            At all times material, Defendant Panther's failure to exercise the required degree of care in

     securing the safe operation of the subject helicopter violated operative safety, maintenance, and/or

     transportation regulations and procedures and/or the applicable standards of care.

                                                   95.

            Defendant Panther knew or in the exercise of due care should have known that failing to

     properly inspect, test, repair, service, operate, maintain, and/or warn about the subject helicopter

     and its component parts would create an unreasonable risk of harm or death to persons piloting

     and/or aboard the subject helicopter, including decedent Tito Livia Almeida.

                                                   96.

            As a direct and proximate result of Panther's negligence, the subject helicopter suffered a

     catastrophic crash that caused decedent Tito Livia Almeida's fatal injuries.




                                                    22/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 22
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 23 of 36




                                                    97.

            As a direct and proximate cause of Defendant Panther's negligence and their decedent Tito

     Livio Almeida's consequent death, Plaintiffs have been damaged, making Panther liable to

     Plaintiffs for such damages including but not limited to compensation for loss of love affection,

     companionship, and support, for funeral expenses, and for any other damages to which Plaintiffs

     may be entitled under applicable law.

                                                    98.

            As a direct and proximate cause of Defendant Panther's negligence decedent Tito Livio

     Almeida was damaged, making Panther liable to Plaintiffs, as decedent Tito Livio Almeida's

     surviving beneficiaries, for all damages Tito Livio Almeida sustained from Panther's tortious

     conduct before his ultimate death, including but not limited to compensation for their decedent's

     pre-impact fright, fear, and mental anguish, and for any other damages to which Plaintiffs may be

     entitled under applicable law.

                                         Count II - Strict Liability

                                                    99.

            Plaintiffs incorporate by reference and re-allege here paragraphs 1-11. and 29-41.

                                                   100.

            At all times material Defendant Panther provided the professional services of chartering,

     leasing, operating, and/or supplying helicopters and pilots therefor, including the subject helicopter

     and its component parts.




                                                     23/35




                                      Case Number: 00066435 Transaction Date : 11/30/2020 Seq: 5 Page Sequence: 23
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 24 of 36




                                                   101.

            At all times material Defendant Panther, through its employees, agents, representatives,

     and/or servants, owned, operated, maintained, inspected, tested, had garde of, and/or was the entity

     in control of the subject helicopter and its component parts

                                                  102.

            Defendant Panther knew the subject helicopter would be used by others, including decedent

     Tito Livia Almeida, without opportunity for inspection, testing, or knowledge of its and/or its

     component parts' design, manufacturing, or inadequate warning defects.

                                                  103.

            Defendant Panther owed a duty of care to decedent, Tito· Livia Almeid~, to supply the

     subject helicopter in a manner free from defects and fit for its intended purpose.

                                                  104.

            Defendant Panther, by directing the subject flight and providing the subject helicopter for

     it, represented that the subject helicopter and its component parts could be used safely within its

     operational parameters and perform as expected.

                                                  105.

            The subject helicopter reached decedent Tito Livia Almeida without substantial change in

     the condition in which it was owned, possessed, controlled, maintained, and/or supplied by

     Defendant Panther.




                                                    24/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 24
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 25 of 36




                                                  106.

            At all times material decedent Tito Livio Almeida was using the subject helicopter in the

     manner which Panther directed, intended, and reasonably expected.

                                                  107.

            At all times material Defendant Panther leased, operated, and/or supplied the subject

     helicopter and its component parts in a defective and unreasonably dangerous condition that placed

     users, including decedent Tito Livio Almeida, in an unreasonable risk of harm, in that the subject

     helicopter was defective in design and/or manufacture, and was unaccompanied by any adequate

     warning of those defects.

                                                  108.

            The defective design, manufacture, testing, assembly, maintenance, warning, and/or

     inspection of the subject helicopter owned, operated, and supplied by Defendant Panther

     substantially and proximately caused the subject crash and consequent death of Tito Livio

     Almeida.

                                                  109.

            As a direct and proximate result of Defendant Panther's strict liability for supplying the

     unreasonably dangerous subject helicopter, failing to properly maintain it, and failing to

     adequately warn of its defects, and for the consequent death to Tito Livio Almeida, Plaintiffs have

     been damaged, making Panther liable to Plaintiffs for such damages including but not limited to

     compensation for loss of love affection, companionship, and support, for funeral expenses, and for

     any other damages to which Plaintiffs may be entitled under applicable law.

                                                   25/35




                                    Case Number: 00066435 Transaction Date : 11/30/2020 Seq : 5 Page Sequence : 25
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 26 of 36




                                                   110.

            As a direct and proximate result of Defendant Panther's strict liability for supplying the

     unreasonably dangerous subject helicopter, failing to properly maintain it, and failing to

     adequately warn of its defects, and for the consequent crash, decedent Tito Livio Almeida was

     damaged, making Panther liable to Plaintiffs, as decedent Tito Livio Almeida's surviving

     beneficiaries, for all damages Tito Livia Almeida sustained from Panther's tortious conduct before

     his ultimate death, including but not limited to compensation for their decedent's pre-impact fright,

     fear, and mental anguish, and for any other damages to which Plaintiffs may be entitled under

     applicable law.

                       Count III- Wrongful Death Resulting from Intentional Act

                                                   111.
            Plaintiffs incorporate by reference and re-allege here paragraphs 1-11 and 29-41.

                                                   112.

            At all times material Defendant Panther, through its employees, agents, representatives,

     and/or servants, owned, operated, maintained, inspected, tested, had garde of, and/or was the entity

     in control of the subject helicopter and its component parts.

                                                   113.

            As part of the maintenance and operation of the subject helicopter, Panther caused the

     helicopter to be used as an experimental helicopter and/or with experimental components.




                                                    26/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 26
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 27 of 36




                                               114.

            Nonetheless, Defendant Panther provided the subject helicopter to decedent Tito Livia

     Almeida to pilot during the subject flight.

                                                   115.

            Defendant Panther was substantially certain that its conduct in using the aircraft as an

     experimental aircraft and/or with experimental components and then returning it to service without

     proper maintenance or inspection would cause injury, including the death of Tito Livia Almeida.

                                               116.

            As a direct and proximate result of Panther's intentional acts, the subject helicopter

     suffered a catastrophic crash that caused decedent Tito Livia Almeida's fatal injuries.

                                               117.

            As a direct and proximate cause of Defendant Panther's intentional acts and Tito Livia

     Almeida's consequent death, Plaintiffs have been damaged, making Panther liable to Plaintiffs for

     such damages including but not limited to compensation for loss of love affection, companionship,

     and support, for funeral expenses, and for any other damages to which Plaintiffs may be entitled

     under applicable law.

                                               118.

            As a direct and proximate cause of Defendant Panther's intentional acts decedent Tito Livia

     Almeida was damaged, making Panther liable to Plaintiffs, as decedent Tito Livia Almeida's

     surviving beneficiaries, for all damages Tito Livia Almeida sustained from Panther's tortious

     conduct before his ultimate death, including but not limited to compensation for their decedent's

                                                          27/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 27
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 28 of 36




     pre-impact fright, fear, and mental anguish, and for any other damages to which Plaintiffs may be

     entitled under applicable law.

                                        Count IV -Attorney's Fees

                                                   119.

            Plaintiffs incorporate by reference and re-allege here 1-11 and 29--41.

                                                  120.

            Plaintiffs retained the law firms Podhurst Orseck, P.A., the Duffey Law Firm, and Scott

     Vicknair, LLC to represent them in bringing their claims against Defendant Panther and have

     agreed to pay reasonable attorney's fees.

                                                   121.

            Plaintiffs are entitled to recover their reasonable and necessary attorney's fees incurred

     from Defendant Panther.

                                                  122.

            Plaintiffs request judgment in their favor and against Defendant Panther, in an amount that

     will fairly compensate Plaintiffs for their losses, damages, and expenses, for prejudgment and post-

     judgment interest as provided by law, for costs of this action, for reasonable attorney's fees, and

     for all other just and equitable relief to which they may show themselves entitled.

                                      Arrow Aviation Company, LLC

                                           Count I-Negligence

                                                  123.
            Plaintiffs incorporate by reference and re-allege here paragraphs 1-7, 13-15, and 29--41 .


                                                    28/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 28
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 29 of 36




                                                   124.

            At all times material, Defendant Arrow, through its employees, agents, representatives,

     and/or servants maintained, inspected, and/or tested the subject helicopter and its component parts.

                                                   125.

            At all times material, Defendant Arrow was responsible for ensuring the subject helicopter

     and its component parts were properly maintained, inspected, tested, repaired, and/or operated.

                                                   126.

            At all times material, Defendant Arrow as the maintenance provider of the subject

     helicopter owed a duty to all users, including decedent Tito Livio Almeida, to exercise reasonable

     care to guard against accidents and injuries resulting from its use.

                                                   127.

            At all times material, Defendant Arrow owed a duty to to all users, including decedent Tito

     Livio Almeida, to exercise reasonable care to maintain the subject helicopter in a safe and not

     unreasonably dangerous condition.

                                                   128.

            At all times material, Defendant Arrow owed a duty to all users, including decedent Tito

     Livio Almeida, to reasonably inspect, test, and maintain the subject helicopter so as to discover

     any characteristics that made it unreasonably dangerous.

                                                   129.

            At all times material, Defendant Arrow owed a duty to all users, including decedent Tito

     Livio Almeida, to either correct or adequately warn of any characteristics that Arrow knew or in

                                                    29/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 29
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 30 of 36




     the exercise of reasonable care should have known made the subject helicopter unreasonably

     dangerous.

                                                  130.

            Defendant Arrow breached its duty of care by, among other things:

            a. Failing to properly maintain the subject helicopter in a safe condition;

            b. Failing to properly maintain, inspect, and/or test the subject helicopter and its
               component parts to discover its unreasonably dangerous condition;

            c. Failing to properly maintain, inspect, test, and/or repair the subject helicopter
               and its component parts correct its unreasonably dangerous condition, including
               but not limited to failing to properly replace and/or maintain the turbine, engine,
               and/or engine component parts; and/or

            d. Failing to warn persons operating and/or aboard th.e subject helicopter,
               including decedent Tito Livio Almeida, of the helicopter's unreasonably
               dangerous condition.

                                                   131.

            At all times material, Defendant Arrow's failure to exercise the required degree of care

     violated operative safety, maintenance, and/or transportation regulations and procedures and/or

     the applicable standards of care.

                                                  132.

            Defendant Arrow knew or in the exercise of due care should have known that failing to

     properly inspect, test, repair, service, operate, maintain, and/or warn about the subject helicopter

     and its component parts would create an unreasonable risk of harm or death to persons piloting

     and/or aboard the subject helicopter, including decedent Tito Livio Almeida.




                                                    30/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 30
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 31 of 36




                                                  133.

            As a direct and proximate result of Arrow's negligence, the subject helicopter suffered a

     catastrophic crash that caused decedent Tito Livio Almeida's fatal injuries.

                                                  134.

            As a direct and proximate cause of Defendant Arrow's negligence and their decedent Tito

     Livio Almeida's consequent death, Plaintiffs have been damaged, making Arrow liable to

     Plaintiffs for such damages including but not limited to compensation for loss of love affection,

     companionship, and support, for funeral expenses, and for any other damages to which Plaintiffs

     may be entitled under applicable law.

                                                  135.

            As a direct and proximate cause of Defendant Arrow's negligence decedent Tito Livio

     Almeida was damaged, making Arrow liable to Plaintiffs, as decedent Tito Livio Almeida's

     surviving beneficiaries, for all damages Tito Livio Almeida sustained from Arrow's tortious

     conduct before his ultimate death, including but not limited to compensation for their decedent's

     pre-impact fright, fear, and mental anguish, and for any other damages to which Plaintiffs may be

     entitled under applicable law.

                                         Count II - Strict Liability

                                                  136.

            Plaintiffs incorporate by reference and re-allege here paragraphs 1-7, 13-15, and 29--41.




                                                   31/35




                                      Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 31
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 32 of 36




                                                  137.

            At all times material Defendant Arrow provided the professional maintenance services for

     the subject helicopter and its component parts. Included in this maintenance service, Defendant

     Arrow provided component parts, either through selling or installing such components.

                                                  138.

            Defendant Arrow knew the subject helicopter would be used by others, including decedent

     Tito Livio Almeida, without opportunity for inspection, testing, or knowledge of its and/or its

     component parts' design, manufacturing, or inadequate warning defects.

                                                  139.

            Defendant Arrow owed a duty of care to decedent, Tito Livio Almeida, to supply the

     subject helicopter and any component parts in a manner free from defects and fit for their intended

     purpose.

                                                  140.

            Defendant Arrow represented that the subject helicopter and its component parts could be

     used safely within its operational parameters and perform as expected.

                                                  141.

            The subject helicopter reached decedent Tito Livio Almeida without substantial change in

     the condition in which it was maintained and/or supplied by Defendant Arrow.

                                                  142.

            At all times material decedent Tito Livio Almeida was using the subject helicopter and its

     component parts in the manner which Arrow directed, intended, and reasonably expected.

                                                   32/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 32
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 33 of 36




                                                 143.

            At all times material Defendant Arrow supplied the subject helicopter and its component

     parts in a defective and unreasonably dangerous condition that placed users, including decedent

     Tito Livio Almeida, in an unreasonable risk of harm, in that the subject helicopter and/or its

     component parts were defective in design and/or manufacture, and were unaccompanied by any

     adequate warning of those defects.

                                                 144.

            The defective design, manufacture, testing, assembly, maintenance, warning, and/or

     inspection of the subject helicopter and/or its component parts supplied by Defendant Arrow

     substantially and proximately caused the subject crash and consequent death of Tito Livio

     Almeida.

                                                 145.

            As a direct and proximate result of Defendant Arrow's strict liability for supplying the

     unreasonably dangerous subject helicopter/component parts, failing to properly maintain it, and

     failing to adequately warn of its defects, and for the consequent death to Tito Livia Almeida,

     Plaintiffs have been damaged, making Arrow liable to Plaintiffs for such damages including but

     not limited to compensation for loss of love affection, companionship, and support, for funeral

     expenses, and for any other damages to which Plaintiffs may be entitled under applicable law.

                                                 146.

            As a direct and proximate result of Defendant Arrow's strict liability for supplying the

     unreasonably dangerous subject helicopter/component parts, failing to properly maintain it, and

                                                  33/35




                                    Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 33
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 34 of 36




     failing to adequately warn of its defects, and for the consequent crash, decedent Tito Livio Almeida

     was damaged, making Arrow liable to Plaintiffs, as decedent Tito Livio Almeida's surviving

     beneficiaries, for all damages Tito Livio Almeida sustained from Arrow's tortious conduct before

     his ultimate death, including but not limited to compensation for their decedent's pre-impact fright,

     fear, and mental anguish, and for any other damages to which Plaintiffs may be entitled under

     applicable law.

                                          Count III - Attorney's Fees

                                                   147.

            Plaintiffs incorporate by reference and re-allege here 1-7, 13-15, and 29-41.

                                                   148.

            Plaintiffs retained the law firms Podhurst Orseck, P.A., the Duffey Law Firm, and Scott

     Vicknair, LLC to represent them in bringing their claims against Defendant Arrow and have agreed

     to pay reasonable attorney's fees.

                                                   149.

            Plaintiffs are entitled to recover their reasonable and necessary attorney's fees incurred

     from Defendant Arrow.

                                                   150.

            Plaintiffs request judgment in their favor and against Defendant Arrow, in an amount that

     will fairly compensate Plaintiffs for their losses, damages, and expenses, for prejudgment and post-

     judgment interest as provided by law, for costs of this action, for reasonable attorney's fees, and

     for all other just and equitable relief to which they may show themselves entitled.

                                                    34/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 34
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 35 of 36




                                      REQUEST FOR JURY TRIAL

                                                    151.

            Plaintiffs respectfully pray for a trial by jury on all issues alleged herein.

                                                  PRAYER

            WHEREFORE, Plaintiffs, SARAH ALMEIDA, DALMO GERALDO ALMEIDA and

     ANA LUCIA ALMEIDA, pray for all just and equitable relief to which they may be entitled under

     the facts of this case, including, without limitation, recovery against Defendants, Bell Textron,

     Inc., Rolls-Royce Corp., Arr.ow Aviation Company, LLC, and Panther Helicopters, Inc., under

     Louisiana's wrongful death, survival, products liability, and common tort laws, and all remedies

     available thereunder.

                                                                    SCOTT VICKNAIR, LLC

                                                                    Isl Jennifer Greene
                                                                    JENNIFER GREENE, No.30899
                                                                    909 Poydras Street Ste 2025
                                                                    New Orleans, LA, 70112-4064
                                                                    (504) 500-1111
                                                                    jennifer@sv law. law
                                                                    Attorney for Plaintiff
     PLEASE SERVE:

     PANTHER HELICOPTORS, INC
     Through its registered agent for service:
     LANCE PANEPINTO
     1621 Lake Placid Drive
     Harvey, Louisiana 70058


     SERVICE INSTRUCTIONS CONTINUED ON NEXT PAGE




                                                     35/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence : 35
Case 2:20-cv-03280-EEF-DMD Document 1-1 Filed 12/02/20 Page 36 of 36




     BELL TEXTRON, INC.
     Through its registered agent for service:
     C T CORPORATION SYSTEM
     3867 Plaza Tower Drive
     Baton Rouge, Louisiana 70816

      ARROW AVIATION COMPANY, LLC
      Through its registered agent for service:
      CYRIL J. GUIDRY
     -1306-D Duchamp Road
      Broussard, Louisiana 70518

     ROLLS ROYCE CORP.
     To be served via longarm service:
     Corporation Service Company
     251 Little Falls Drive
     Wilmington, Delaware 19808




                                                  36/35




                                     Case Number: 00066435 Transaction Date: 11/30/2020 Seq: 5 Page Sequence: 36
